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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-cr-00169MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 5-21-2015
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrison C. England
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   and defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
21
           1.       By previous order, this matter was set for status May 7, 2015.
22

23         2.       By this stipulation, defendant now moves to continue the status
24
     conference until May 21, 2015, and to exclude time between May 7, 2015 and May 21,
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     2015, under Local Code T4. Plaintiff does not oppose this request. The case is
26

27   currently set for trial on November 9, 2015.
28         3.       The parties agree and stipulate, and request that the Court find the


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 1   following:
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            a.       The government has represented that the discovery associated with this
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     case includes approximately 1, 952 pages of investigative reports and related documents
 4

 5   in electronic form and many hours of recorded telephone calls. All of this discovery has
 6
     been either produced directly to counsel and / or made available for inspection and
 7
     copying.
 8

 9          b.       Counsel for defendant desires additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolution with her
11
     client. Counsel has also been continuing to engage in negotiations with the government.
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13   In particular, Mr. Robinson has a current pending matter in Solano County that the

14   government and counsel are attempting to negotiate a global resolution. Negotiations
15
     with the county prosecutor and the government are ongoing. Counsel for defendant is
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     currently in trial and unavailable for the May 7th court date.
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18          c.       Counsel for defendant believes that failure to grant the above-requested
19
     continuance would deny her the reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence.
21

22          d.       The government does not object to the continuance.

23          e.       Based on the above-stated findings, the ends of justice served by
24
     continuing the case as requested outweigh the interest of the public and the defendant in
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26
     a trial within the original date prescribed by the Speedy Trial Act.

27          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
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     § 3161, et seq., within which trial must commence, the time period of May 7, 2015 to


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 1   May 21, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
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     B(iv) [Local Code T4] because it results from a continuance granted by the Court at
 3
     defendant’s request on the basis of the Court's finding that the ends of justice served by
 4

 5   taking such action outweigh the best interest of the public and the defendant in a speedy
 6
     trial.
 7
              4.   Nothing in this stipulation and order shall preclude a finding that other
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 9   provisions of the Speedy Trial Act dictate that additional time periods are excludable

10   from the period within which a trial must commence.
11
     IT IS SO STIPULATED.
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13
     Dated: May 5, 2015                               Respectfully submitted,

14                                                    /s/ Kelly Babineau
                                                      KELLY BABINEAU
15
                                                      Attorney for Eric Robinson
16
     Dated: May 5, 2015                               /s/ Jason Hitt
17
                                                      Kelly Babineau for:
18                                                    JASON HITT
                                                      Assistant U.S. Attorney
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20
                                            ORDER
21

22
              IT IS SO ORDERED.

23
     Dated: May 8, 2015
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